                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                   No. CR06-2035

 vs.                                           REPORT AND RECOMMENDATION
                                                CONCERNING PLEA OF GUILTY
 JULIO ZALAPA-URBINA,

               Defendant.




        The   defendant,    by   consent,   appeared   before   the   court   pursuant    to
Fed. R. Crim. P. 11, and entered a plea of guilty to Count 1 of the Indictment on June 19,
2006. After cautioning and examining the defendant under oath concerning each of the
subjects mentioned in Fed. R. Crim. P. 11, the court determined that the guilty plea was
knowing and voluntary, and that the offense charged is supported by an independent basis
in fact containing each of the essential elements of such offense. The court therefore
RECOMMENDS that the plea of guilty be accepted and that the defendant be adjudged
guilty and have sentence imposed accordingly.
        At the commencement of the Fed. R. Crim. P. 11 proceeding, the defendant was
placed under oath and advised that if he answered any questions falsely, he could be
prosecuted for perjury or for making a false statement.
        The court then asked a number of questions to ensure the defendant’s mental
capacity to enter a plea. The defendant stated his full name, his age, and the extent of his
schooling. The court determined that the defendant could understand the proceedings
through an interpreter who assisted the defendant in these proceedings. The court inquired
into the defendant’s history of mental illness and addiction to controlled substances. The
court further inquired into whether the defendant was under the influence of any drug,


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medication or alcoholic beverage at the time of the plea. From this inquiry, the court
determined that the defendant was not suffering from any mental disability that would
impair his ability to make a knowing, intelligent and voluntary plea of guilty to the
charges.
       The defendant acknowledged that he had received a copy of the Indictment and that
he had fully discussed these charges with his attorney.
       The court determined that the defendant was pleading guilty under a plea agreement
with the government. After confirming that a copy of the written plea agreement was in
front of the defendant and his attorney, the court determined that the defendant had read
the plea agreement. The Assistant United States Attorney then summarized the terms of
the plea agreement, and the court made certain that the defendant understood its terms.
       The court summarized the charge against the defendant, and listed the elements of
the crime. The court determined that the defendant understood each and every element of
the crime, and ascertained that defendant’s counsel had previously explained each and
every element of the crime to the defendant, and defendant’s counsel confirmed that the
defendant understood each and every element of the crime charged.
       The court then elicited a full and complete factual basis for all of the elements of
the crime charged in the Indictment.
       The court advised the defendant of the consequences of his plea, including an
extensive discussion of the maximum punishment possible and any applicable mandatory
sentencing considerations, and the possibility that his resident alien status could be
revoked.
       The defendant was advised that parole had been abolished.
       The defendant indicated that he had fully conferred with counsel and that he was
fully satisfied with his counsel.      The defendant's attorney had full access to the
government's discovery materials that supported a factual basis for the plea.
       The defendant was then fully advised of his right not to plead guilty and to have a
jury trial, including:

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      1.     The right to assistance of counsel at every stage of the pretrial and
             trial proceedings;

      2.     The right to a speedy, public trial;

      3.     The right to have his case tried by a jury selected from a cross-section of the
             community;

      4.     That he would be presumed innocent at each stage of the proceedings, and
             would be found not guilty unless the government could prove each and every
             element of the offense beyond a reasonable doubt;

      5.     That the government could call witnesses into court, but that his attorney
             would have the right to confront and cross-examine these witnesses;

      6.     That the defendant would have the right to see and hear all witnesses
             presented at trial;

      7.     That the defendant would have the right to subpoena defense witnesses to
             testify at the trial and that if he could not afford to pay the mileage and other
             fees to require the attendance of these witnesses, the government would be
             required to pay those costs;

      8.     That the defendant would have the privilege against self incrimination, i.e.,
             that he could choose to testify at trial, but that he need not do so, and that if
             he chose not to testify, the court would, if he requested, instruct the jury that
             he had a constitutional right not to testify;

      9.     That any verdict by the jury would have to be unanimous;

      10.    That he would have the right to appeal, and that if he could not afford an
             attorney for the appeal, the government would pay the costs of an attorney
             to prepare the appeal.

      The defendant was also advised of the rights he would waive by entering a plea of
guilty. The defendant was told that there would be no trial, that he would waive all the
trial rights just described and be adjudged guilty without any further proceedings except
for sentencing.




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          The defendant then confirmed that his decision to plead guilty was voluntary, that
the decision to plead guilty was not the result of any promises other than plea agreement
promises, that no one had promised him what the sentence would be, and that his decision
to plead guilty was not the result of any threats, force or anyone pressuring him to plead
guilty.
          The defendant then confirmed that he still wished to plead guilty, and pleaded guilty
to Count 1 of the Indictment.
          The court finds the following with respect to the defendant’s guilty plea:
          1.     The guilty plea is voluntary, knowing, not the result of force, threats or
                 promises except plea agreement promises, and the defendant is fully
                 competent.

          2.     The defendant is aware of the maximum punishment.

          3.     The defendant knows his jury rights.

          4.     The defendant has voluntarily waived his jury rights.

          5.     There is a factual basis for the plea.

          6.     The defendant is in fact guilty of the crime to which he is pleading guilty.

          Defendant was advised that a written presentence investigation report would be
prepared to assist the court in sentencing.        The defendant was asked to provide the
information requested by the United States Probation Office to prepare the presentence
investigation report. The defendant was advised of his right to have an attorney present
during this process. The defendant was told that he and his counsel would have an
opportunity to read the presentence report before the sentencing hearing, and that he and
his counsel would be afforded the opportunity to be heard at the sentencing hearing.
          The defendant was advised that the failure to file written objections within 10 days
of the date of its service would bar him from attacking this court’s Report and




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Recommendation recommending that the assigned United States District Judge accept his
plea of guilty.




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